                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: Michael Corey Murks                   )              Case No.: 17-83230-CRJ-7
        SSN: xxx-xx-7914                      )
                                              )
                Debtor.                       )              Chapter 7

                                       STATUS REPORT

         COMES NOW the Trustee, Tazewell T. Shepard, and notifies the Court of the status of
 his liquidation of assets and distribution in the above-styled Chapter 7 case. Debtor has an
 interest in two pieces of real property he did not disclose on his schedules. Debtor owns one-half
 (1/2) interest in 13 acres of raw land with his brother and owns one-third (1/3) interest in
 residential property with his father and brother. The Trustee is still investigating the value of
 Debtor’s potential equity in both pieces of property. The Trustee is also investigating the
 possibility of a cause of action against the Debtor for failure to disclose the assets. The Trustee
 will advise the court on the status of this case in the next 90 days.

        Respectfully submitted this the 11th day of January, 2022.


                                                  /s/ Tazewell T. Shepard
                                                  Tazewell T. Shepard
                                                  Trustee in Bankruptcy

                                                  SPARKMAN, SHEPARD & MORRIS, P.C.
                                                  P.O. Box 19045
                                                  Huntsville, Alabama 35804
                                                  Tel: (256) 512-9924
                                                  Fax: (256) 512-9837

                                 CERTIFICATE OF SERVICE

         This is to certify that I have this day served the foregoing document upon Richard M.
 Blythe, Office of the Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602, by
 electronic service through the Court’s CM/ECF system and/or by placing a copy of same in the
 United States Mail, postage prepaid this the 11th day of January, 2022.



                                                  /s/ Tazewell T. Shepard
                                                  Tazewell T. Shepard




Case 17-83230-CRJ7        Doc 53     Filed 01/11/22 Entered 01/11/22 21:06:39            Desc Main
                                    Document      Page 1 of 1
